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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                                EASTERN DIVISION

UNITED STATES OF AMERICA                      *
     PLAINTIFF                                *
                                              *
       v.                                     *    CR. NO. 2:06-CR-0071-MEF
                                              *
BERNETTA LASHAY WILLIS,                       *
    DEFENDANT                                 *


            NOTICE OF INTENT TO MOVE FOR DOWNWARD DEPARTURE

       Comes now Defendant, Bernetta LaShay Willis, and gives notice to the Court and the

U.S. Attorney of her intent to move for a downward departure from the sentencing guidelines on

grounds of diminished capacity.

       Respectfully submitted this day, December 11, 2007.



                                                          /s/Timothy C. Halstrom
                                                          Timothy C. Halstrom
                                                          Bar Number HAL021
                                                          Attorney for Defendant




Of Counsel:
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                                CERTIFICATE OF SERVICE

         I hereby certify that on December 11, 2007, I electronically filed the foregoing with the
Clerk of the Court using CM/ECF system which will send notification of such filing parties and
their attorneys.



                                                             /s/Timothy C. Halstrom
                                                             Timothy C. Halstrom
                                                             Bar Number HAL021
